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                                                                                   States Courts
                                                                             Southern District of Texas
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Frances H. Stacy
